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                                   (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)




(EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)



          (Firm Name, Address, and Telephone Number)                                                          (If Known)




                                                            One Box Only)
                                                                                        (For Diversity Cases Only)                                and One Box for Defendant)

                                                                                                                                                    or
                                     (U.S. Government Not a Party)
                                                                                                                                                    and
                                    (Indicate Citizenship of Parties in Item III)




                                                                                                                                  (specify)


                                                                                    (Do not cite jurisdictional statutes unless diversity)




             (See instructions):
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